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lN THE UNITED STATES DISTRICT COURT -‘"!

FOR THE WESTERN DIS'I`RICT OF TENNESSEE

EASTERN DIVISION

SHELTER INSURANCE COMPANIES, :
PLA]NTIFF,

V.

BtLLY JoE GRISWELL l)/B/A
GRISWELL BUILDING AND sALE
and GUH)EONE TAYLOR BALL . _` ; - `
CONSTRUCHON sERvICEs, rNC., : ~ . _;

DEFENDANTS.

 

MOTION TO ALTER OR AMEND /
PREVIOUSLY FILED MOTIO)/

 

Comes now Terry Abernathy, Attorney ot` record for illy Joe Griswell, dfb/a Griswell Building
and Sale_ in the cause as styled and numbered above nd respectfully moves that the previously filed
MOTION TO ALTER OR AMEND PLEAD § ' S AND RECORDS as filed in this cause on May 5,

20ch be altered and amended in the foll ing particulars, to wit:

That, by the inadv nance/mistake of the undersigned attorney, the “case number” assigned to
the case styled Guid ne Tavlor Ball Construction Services, Inc.` v. Ricl<Y I-Iurt1 et al1 was incorrect, and
that the correct ase number to be assigned to Guideone Tavlor Ball Constructions Services` lnc._ v.

Rickv Hurt et al., is Case No.OZ-lZQQ-T-An

 

     
 

This document entered on the docket sheet ln compliance

es 0 d with Flu|e 58 and,‘or_?g (a) FHCP on

. Districl Judge

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attorneys, but has no reason to believe that anyone involved in these matters of litigation would have any
reason to object or to otherwise oppose this ministerial/administrative relief sought, and the undersigned

attorney would further apologize to the Court for this oversight and mistake

 

, dfb/a

 

Griswell Buildin and Sale
P.O. BOX 441

Selmer, TN 383 75
731-645-6]63

CERTIFICATE OF SERVICE
I hereby certify that a true and exact copy of the foregoing MOTION TO ALTER OR AMEND
PREVIOUSLY FlLED MOTION was this day served upon counsel for each of the parties by mailing
same toi

’_\/lr_ William l\/l_ leter Mr_ Stephen Craig Kennedy
Attorney at Law Attorney at Law

35 Union Ave, Suite 300 P_O_ Box 647

`_\/lemphis, Tennessee 38l03 Selmer_ Tennessee 38375

_\/lr_ John S. Little
Attorney at Law

P_O_ Box 726

Jacltson_ Tennessee 38302

This the l?é:; day of§l .200__5__ j _ ______ ___ ji_

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:02-CV-01299 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Terry Abernathy
ABERNATHY LAW FIRM
P_O_ Box 441

Selmer7 TN 38375

Williarn M_ Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave_

Ste_ 300

l\/lemphis7 TN 38103

Stephen C_ Kennedy
DEUSNER & KENNEDY
l 17 W_ Court Avenue
Selmer7 TN 38375--064

Honorable .l ames Todd
US DISTRICT COURT

